                 IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

  UNITED STATES OF AMERICA,                          )
      Plaintiff,                                     )
                                                     )      CASE No. 2:18-cr-17
  v.                                                 )      JORDAN/CORKER
                                                     )
  MICHAEL RYAN GOINS,                                )
      Defendant.                                     )

                 NOTICE OF ADOPTION OF MOTION TO CONTINUE

         Comes the Defendant, Michael Ryan Goins, by and through counsel, gives notice that

  he adopts the motion to continue trial date and other deadlines filed by co-defendant

  Samuel Aloisio [Doc. 630].

                                             Respectfully submitted,

                                             /s/Randall E. Reagan
                                             RANDALL E. REAGAN, BPR No. 005995
                                             Attorney for Michael Ryan Goins
                                             P.O. Box 61
                                             Knoxville, Tennessee 37901
                                             (865) 637-8505


                               CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Motion was filed electronically. Notice
  of this filing will be sent by operation of the Court’s electronic filing system to all parties
  indicated on the electronic filing receipt. All other parties will be served by regular U.S.
  mail. Parties may access this filing through the Court’s electronic filing system.

                                      /s/Randall E. Reagan
                                      RANDALL E. REAGAN
                                      Attorney for Michael Ryan Goins




Case 2:18-cr-00017-RLJ-CRW Document 645 Filed 10/04/18 Page 1 of 1 PageID #: 2891
